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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 MARY ERWIN-SIMPSON, et al.,

                         Plaintiffs,

                         v.                     Case No. 18-cv-00083 (CRC)

 AIRASIA BERHAD, et al.,

                         Defendants.

                                            ORDER

        For the reasons stated in the accompanying Memorandum Opinion, it is hereby

        ORDERED that [12] Defendants’ Motion to Dismiss is GRANTED. The case shall be

dismissed in its entirety.

        This is a final appealable Order.

        SO ORDERED.




                                                         CHRISTOPHER R. COOPER
                                                         United States District Judge

Date: March 22, 2019
